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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


TRANSLUCENT COMMUNICATIONS, LLC :
                                :
              Plaintiff         :
                                :
          v.                    :                              Civil Action No. WGC-08-3235
                                :
AMERICAS PREMIERE CORP. et al.  :
                                :
              Defendants        :

                                               ORDER

        In accordance with the foregoing Memorandum Opinion, IT IS this 24th day of February,

2010, by the United States District Court for the District of Maryland, ORDERED:

        1.        That Plaintiff’s Motion for Summary Judgment (Document No. 53) BE, and the

same hereby IS, GRANTED;

        2.        That judgment is entered in favor of Plaintiff and against Defendants as to

liability only;

        3.        That with regard to Count IV, Violation of the Anti-Cybersquatting Consumer

Protection Act, 15 U.S.C. § 1125(d)(1)(A), Plaintiff is AWARDED the maximum statutory

damages of $100,000. Because Plaintiff requested this relief, Plaintiff is not entitled to actual

damages and costs pursuant to 15 U.S.C. § 1117(a);

        4.        That with regard to Count IV, Defendants are hereby ORDERED to (a)

immediately remove the APC Wireless website from the Translucent website, (b) relinquish the

registration of the domain name, translucentcommunications.com, and (c) transfer their

(Defendants’) registration of such domain name to Plaintiff Translucent Communications, LLC;

        5.        That with regard to Count VI, Promissory Estoppel/Detrimental Reliance,

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Defendants must assume full responsibility for any losses incurred by Plaintiff;

       6.      That Plaintiff must serve a copy of this Order and foregoing Memorandum

Opinion to Register.com, the registrar of Plaintiff’s domain name; and

       7.      That with regard to any damages requested by Plaintiff and not specifically

awarded by the Court, Plaintiff will have to present evidence to a trier of fact supporting the

amount of damages Plaintiff seeks.




                                              _________________/s/_____________________
                                                      WILLIAM CONNELLY
                                               UNITED STATES MAGISTRATE JUDGE




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